           Case 1:12-cr-00035-DAD-BAM Document 27 Filed 12/05/12 Page 1 of 3



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 HENRY Z. CARBAJAL III
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for the
   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:12-cr-00035 AWI-BAM
12                                 Plaintiff,               STIPULATION TO CONTINUE
                                                            STATUS CONFERENCE; FINDINGS
13   v.                                                     AND ORDER
14   BONNIE LYNN RECINOS,                                   DATE: February 11, 2013
      aka Bonnie Farr, and                                  TIME: 1:00 p.m.
15   OBDULIA JULIE LEON,                                    JUDGE: Hon. Barbara A. McAuliffe
      aka Julie Ochoa,
16    aka Julie De Fontes,
17                                 Defendants.
18

19                                               STIPULATION
20          The United States of America, by and through its counsel of record, and defendants, by and
21
     through their counsel of record, hereby stipulate as follows:
22
            1.      By previous order, this matter was set for status on December 10, 2012 at 1:00 p.m.
23
            2.      By this stipulation, defendants now move to continue the status conference until
24

25 February 11, 2013 at 1:00 p.m. before Judge McAuliffe, and to exclude time between the date of
26 this stipulation and February 11, 2013 under 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and

27 (iv). The government does not oppose this request.

28
                                                        1
29

30
           Case 1:12-cr-00035-DAD-BAM Document 27 Filed 12/05/12 Page 2 of 3


            3.      The parties agree and stipulate, and request that the Court find the following:
 1
            a.      The government has represented that the discovery associated with this case includes
 2

 3 over 6,500 pages of discovery, including investigative reports and related documents. All of this

 4 discovery has been either produced directly to counsel and/or made available for inspection and

 5 copying.

 6
            b.      Counsel for defendant Obdulia Julie Leon desires additional time in preparation of
 7
     this case. Defense counsel needs additional time to conduct investigation and have further
 8
     settlement negotiations with the government. Counsel for defendant Bonnie Lynn Recinos has
 9

10 represented that Ms. Recinos is restricted from travel from Arizona to California due to health issues

11 and ongoing medical treatment. Defense counsel has provided the government with correspondence

12 from Ms. Recinos’ physician restricting Ms. Recinos’ travel. Ms. Recinos’ health issues have

13 delayed defense counsel’s investigation and preparation of the case. Thus, the requested

14
     continuance will conserve time and resources for the parties and the court.
15
            c.      Counsel for defendants believe that failure to grant the above-requested continuance
16
     would deny them the reasonable time necessary for effective preparation, taking into account the
17

18 exercise of due diligence.

19          d.      The government does not object to the continuance.

20          e.      Based on the above-stated findings, the ends of justice served by continuing the case
21
     as requested outweigh the interest of the public and the defendant in a trial within the original date
22
     prescribed by the Speedy Trial Act.
23
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
24
     seq., within which trial must commence, the time period of the date of this stipulation to February
25
26 19, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

27 3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the Court at defendants’

28
                                                        2
29

30
           Case 1:12-cr-00035-DAD-BAM Document 27 Filed 12/05/12 Page 3 of 3


     request on the basis of the Court's finding that the ends of justice served by taking such action
 1
     outweigh the best interest of the public and the defendant in a speedy trial.
 2

 3          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

 4 the Speedy Trial Act dictate that additional time periods are excludable from the period

 5 within which a trial must commence.

 6

 7
     IT IS SO STIPULATED.
 8
     DATED:         December 5, 2012
 9

10                                         /s/Barbara H. O’Neill
                                           BARBARA H. O’NEILL
11                                         Counsel for Defendant
                                           BONNIE LYNN RECINOS
12

13 DATED:           December 5, 2012
14
                                           /s/ Henry Z. Carbajal III
15                                         HENRY Z. CARBAJAL III
                                           Assistant United States Attorney
16

17 DATED:           December 5, 2012
18
                                           /s/Jeremy S. Kroger
19                                         JEREMY S. KROGER
                                           Counsel for Defendant
20                                         OBDULIA JULIE LEON
21

22                                                 ORDER
23 IT IS SO ORDERED.

24
        Dated:     December 5, 2012                                            /s/ Dennis L. Beck
25                                                       UNITED STATES MAGISTRATE JUDGE
                                                        DEAC_Sig nature-END:




26
                                                     3b142a
27

28
                                                            3
29

30
